                                 2:24-mj-07161-EIL # 2                Filed: 10/03/24      Page 1 of 1
                                                                                                                             E-FILED
AO 94 (Rev. 06/09) Commitment to Another District                                         Thursday, 03 October, 2024 01:08:13 PM
                                                                                                     Clerk, U.S. District Court, ILCD
                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Central District
                                                    __________  DistrictofofIllinois
                                                                             __________

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No. 24-MJ-7161
                  ERIC JAMES RENNERT                                  )
                                                                      )         Charging District’s
                           Defendant                                  )         Case No.    24-20425-CR

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                 Southern          District of Florida                  ,
(if applicable)                                      division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:        u will retain an attorney.
                                ✔ is requesting court-appointed counsel.
                                u

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



                                                                     Eric Long
                                                                                                       Digitally signed by Eric Long
                                                                                                       Date: 2024.10.03 12:16:07
Date:             10/03/2024                                                                           -05'00'
                                                                                            Judge’s signature

                                                                               ERIC I. LONG U.S. MAGISTRATE JUDGE
                                                                                          Printed name and title
